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FoR THE DISTRICT oF NEw MExIco egg ,' ~( ij

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DIAMoND BAR cATTLE coMPANY `;;‘ "“°

and LANEY cATTLE coMPANY,
Plaintiffs,
vs. Civ. No. 96-437-HB

UNITED STATES OF AMERICA;

DAN GLICKMAN, Secretary of

the United States Department

of Agriculture; and U.S.D.A. E~"§ED°N°°G“H
Forest Service, _ _

Defendants.
MEMORANDUM 0PINION

This matter is before the Court on Defendants’ Motion for
Summary Judgment on Defendants’ Counterclaims, filed August 5,
1996. The counterclaims request the following relief: (1) an
injunction prohibiting unauthorized grazing by Plaintiffs’
livestock on National Forest Systems lands; (2) an order directing
the removal of the unauthorized livestock; and (3) fees and damages
flowing from the unauthorized use. Having reviewed the motion, the
memoranda in support and in opposition, and the applicable law, the
Court finds that the motion is well taken and will be granted. The
Court’s granting of Defendants' motion disposes of Plaintiffs’

action.

I. Jurisdiction
Although Plaintiffs characterize their action as one for a
declaratory judgment, Plaintiffs’ action is a quiet title action

against the United States. The Quiet Title Act provides the sole

 

 

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jurisdictional basis to establish title to land against the United
States. Block v. North Dakota, 461 U.S. 273, 286 (1983). The
Quiet Title Act of 1972, 28 U.S.C. § 2409a, provides a limited
waiver of sovereign immunity that permits the United States to be
named as a party defendant in a civil action "to adjudicate a
disputed title to real property in which the United States claims
an interest, other than a security interest or water rights." 28
U.S.C. § 2409a. The Court has jurisdiction over Defendants’

counterclaims pursuant to 28 U.S.C. § 1345.

II. summary Judggent Standard

This Court. will grant summary judgment ‘when there is no
genuine issue as to any material fact, and the movant is entitled
to judgment as a matter of law. Fed. R. Civ. P. 56(c). The movant
carries the burden of establishing there are no genuine issues of
material fact, Adickes v. S. H. Kress & Co., 398 U.S. 144, 157
(1970), but may discharge its burden by showing there is an absence
of evidence to support the non-movant’s case, Celotex Corp. v.
Catrett, 477 U.S. 317, 325 (1986). 0nce the movant meets its
burden, the burden shifts to the non-movant to demonstrate a
genuine issue for trial on a material matter. Bacchus Indus.l Inc.
v. Arvin Indus.l Inc., 939 F.2d 887, 891 (10th Cir. 1991). In
making its summary judgment determination, the court looks at the
pleadings and documentary evidence in the light most favorable to
the non-movant, Deepwater Invs., Ltd. v. Jackson Hole Ski Corp.,
938 F.2d 1105, 1110 (10th Cir. 1991), and the movant must show
beyond a reasonable doubt it is entitled to summary judgment, §igk§

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V. Cit Of WatOn a 0kla., 942 F.2d 737, 743 (10th Cir. 1991).

 

However, once the burden shifts to the non-movant, that party may
not rest on its pleadings but must set forth specific facts showing
there is a genuine issue for trial as to those dispositive matters
for which it carries the burden of proof. Celotex Cor ., 477 U.S.
at 324. If the non-movant cannot make such a showing, after
adequate time for discovery, summary judgment is mandated. lgé at
322.
III. Factual Background

The United States of America, acting through the United States
Department of Agriculture, Forest Service is the owner and manager
of the Gila National Forest and the Apache National Forest which
are components of the National Forest System1 in the State of New
Mexico. These lands are retained and managed by the United States
of America pursuant to its powers under the Constitution, primarily
the Property Clause, which gives Congress the power "to dispose of
and make all needful Rules and Regulations respecting the Territory
or other Property belonging to the United States." U.S. Const.
art. IV, § 3, cl. 2.

The Forest Service administers National Forest System lands
for livestock grazing purposes in accordance with a number of

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federal statutes. However, "all grazing and livestock use on

 

1 The term "National Forest System" is defined at 16 U.S.C.
§ 1609(a) and includes, among other lands, all National Forest
lands reserved or withdrawn from the public domain.

2 These statutes include the following: (1) the Organic Act
of 1897, 16 U.S.C. § 551; (2) the Granger-Thye Act, 16 U.S.C. §
5801, the National Forest Management Act, 16 U.S.C. § 1600 §§ se .,

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National Forest System lands . . . must be authorized by a grazing

or livestock use permit." 36 C.F.R. § 222.3.

A. Laney Cattle Company

In 1985, the Forest Service issued a ten year term grazing
permit to the Laney Cattle Company (LCC) authorizing it to graze a
certain number of cattle on a specific allotment3 of the Apache
National Forest, subject to the terms and conditions of the permit.
Specifically, the Forest Service authorized LCC to graze 158 cattle
on the Laney Allotment, Luna Ranger District, from March 1 to
February 28. Permit Number 06-972 indicated an expiration date of
December 31, 1995. However, the Forest Service recently discovered
that this date resulted in a permit term in excess of ten years,
which is the maximum allowable under federal law. The expiration

date of Permit Number 06-972 should have been March 13, 1995.

 

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the Federal Land Policy and Management Act, 43 U.S.C. § 1701 e
seg., the Public Rangelands Improvement Act, 43 U.S.C. § 1901 e
se ., the Multiple Use Sustained Yield Act, 16 U.S.C. § 528 §_
se ., the Endangered Species Act, 16 U.S.C. § 1531 et se ., the
Federal Water Pollution Control Act, 33 U.S.C. § 1251 et seg., the
National Environmental Policy Act, 42 U.S.C. § 4321 et se ., the
Archeological Resources Protection Act, 16 U.S.C. § 470aa et se .,
and the National Historic Preservation Act, 16 U.S.C. § 470 et seg.
Range management regulations at 36 C.F.R. § 222 et seg. give the
Forest Service additional authority to administer livestock grazing
activities on National Forest System lands.

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Where National Forest System lands have been congressionally
designated as wilderness, the Forest Service must also refer to the
Wilderness Act, 16 U.S.C. § 1131 et seg., and regulations at 36
C.F.R. § 293 et seg. as additional authorities by which livestock
grazing activities are administered.

3 The Forest Service defines an allotment as "a designated
area of land available for livestock grazing." 36 C.F.R. §
222.1(b)(1).

 

 

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LCC’s authorized agent signed Permit Number 06-972. By signing the
permit, the agent accepted the terms of the permit.4

Several times in 1995, the Forest Service notified LCC of the
upcoming expiration of its permit and of the requirement that an
Application for a Term Grazing Permit would need to be submitted
and processed by the Forest Service before a new term grazing
permit could be issued for the Laney Allotment.

In response to the Forest Service notification about the
expiration of its permit, LCC advised the Forest Service that it
had no intention of submitting an Application for a Term Grazing
Permit because to do so would "violate its valid existing rights."

On December 31, 1995, LCC’s permit expired. However, LCC has
continued to graze its livestock on the Laney Allotment without a
permit and has refused to apply for a new term grazing permit from

the Forest Service.

B. Diamond Bar Allotment
In 1986, the Forest Service issued a ten year term grazing
permit, Permit Number 06-997, to Diamond Bar Cattle Company (DBCC)

authorizing it to graze a certain number of cattle on a specific

 

4 Immediately above the agent's signature, the permit states,
"I HAVE REVIEWED AND ACCEPT THE TERMS OF THIS PERMIT." In
addition, Clause 3 of the permit states in part:

It is fully understood and agreed that this permit may be
suspended or cancelled, in whole or in part, after
written notice, for failure to comply with any of the
terms and conditions specified in Parts 1, 2, 3, hereof,
or any of the regulations of the Secretary of Agriculture
on which this permit is based, or the instructions of
Forest officers issued thereunder . . . .

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allotment of the Gila National Forest, subject to the terms and
conditions of the permit. Specifically, the Forest Service
authorized DBCC to graze 1188 cattle and 10 horses on the Diamond
Bar Allotment, Mimbres Ranger District, from March 1 to February
28.5 Permit Number 06-997 indicated an expiration date of December
31, 1996, which resulted in a grazing permit with a term in excess
of ten years, the maximum allowed under federal law. Permit Number
06-997 actually expired on January 14, 1996. DBCC’s authorized
agent signed the permit. Permit Number 06-997 contained the same
language found in Permit No. 06-972.

DBCC claims it owns "vested and accrued rights to water and
range for the purpose of raising livestock on what is now called
the National Forest which lies within the boundaries of the Diamond
Bar Ranch." On June 12, 1995, DBCC gave notice to the Forest
Service of its recordation of a "Declaration of Real, Water,
Grazing & Personal Property Rights" in the County Clerk’s Offices
in Catron, Grant and Sierra counties in the State of New Mexico.
DBCC described the "Declaration of Real, Water, Grazing and
Personal Property Rights" as follows:

This document defines the valid livestock grazing and

livestock watering rights of the geographical area known

in the U.S. Forest Service records as the Diamond Bar
Allotment in the Gila National Forest of New Mexico.

 

5 While Permit Number 06-997 authorized grazing by 1188 head
of cattle, 188 head of that total was held in suspension pending
the completion of certain range improvements which were never
completed. Thus, the permit authorized grazing for only 1,000 head
of cattle.

 

 

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In a letter to the Secretary of Agriculture, dated August 15,
1995, DBCC requested a meeting "to develop an orderly transition
from federal management of our ranching operation to private
management under state political sovereignty." On September 8,
1995, the Chief of the Forest Service responded to DBCC’s August 15
letter and advised DBCC that a meeting to discuss the proposed
transition of range management responsibilities from the federal to
state government would not be "a productive or efficient use of
time or energy" because the agency lacked the legal authority to
engage in this type of transfer.

On February 7, 1996, the Chief issued a decision pertaining to
the administration of the Diamond Bar Allotment which concluded,
inter alia, that DBCC’s grazing permit had expired on January 14,
1996, and instructed the agency to offer DBCC a new permit in
accordance with Section 504 of the Rescissions Act,6

On February 26, 1996, DBCC informed the Forest Service it
"was not willing to sign a grazing permit in its current form since

that form requires us to voluntarily give up our valid existing

 

6 In 1995, Congress passed a law intended to minimize the
potential hardship to grazing permittees occasioned by a delay in
receiving a new term grazing permit following the expiration of an
old term grazing permit. Section 504 of the Rescissions Act,
Public Law 104-19, required the Forest Service to, inter alia,
issue new term grazing permits with the same terms and conditions
as the expiring term grazing permits to permittees who had not
received new permits upon expiration of the previous permit solely
because the agency had failed to complete the analysis required by
NEPA. In accordance with Section 504 of the Rescissions Act of
1995, the Chief of the Forest Service instructed the Forest Service
supervisor to issue a new term grazing permit to DBCC with the same
terms and conditions as the expired permit pending the completion
of the analysis of the Diamond Bar Allotment Management Plan.

 

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stockwatering and possessory grazing rights on the Diamond Bar
Ranch." Ex. DB-25.

Following the expiration of its permit, DBCC continued to
graze its cattle on the Diamond Bar Allotment without written
authorization from the Forest Service. The Forest Service
repeatedly warned DBCC that its unauthorized grazing was illegal
and subject to fees. However, DBCC has failed to heed the Forest
Service's warnings and continues to graze its cattle on the Diamond
Bar Allotment without a permit. DBCC also has refused to apply for
a new term grazing permit.

Because LCC and DBCC have refused to remove their livestock
from the Gila and Apache National Forests, Defendants brought these
counterclaims. Defendants claim Plaintiffs are trespassing on
federal land and interfering with the Forest Service's efforts to
rehabilitate federally owned rangeland. Defendants further assert
Plaintiffs are "severely impairing" riparian and wilderness
resources by their unauthorized and unregulated grazing activity.
Defendants seek an order from this Court (1) directing the removal
of Plaintiffs’ unauthorized livestock from the National Forest
lands, (2) enjoining any future grazing activities by Plaintiffs on
the Gila and Apache National Forests lands without written
authorization from the Forest Service, and (3) fees and damages for
the unauthorized grazing activity.

Plaintiffs contend they are not trespassing on National Forest
lands because they hold "valid existing property rights to the

water and range for the purpose of raising livestock" on forest

 

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lands. According to Plaintiffs, "both they and the government are
vested private property owners" of the forest land in question.
Plaintiffs claim they have private property' rights (livestock
watering and grazing rights) to the forest land which were
appropriated from the public domain into individual ownership prior
to the establishment of the Gila National Forest and the creation
of the Forest Service. Simply stated, Plaintiffs claim ‘they
previously appropriated the water and the range in accordance with
New Mexico state law and thus they have a vested right to the water

and the forage.

IV. Discussion

A. Ownership of Forest Lands
The United States acquired the federal lands that comprise the

Apache and Gila National Forests under the Treaty of Guadalupe
Hidalgo. In accordance with the Creative Act of 1891, President
William McKinley, by Proclamation of March 2, 1899, created the
Gila River Forest Reserve from the public lands in the New Mexico
Territory. 16 U.S.C. § 471.7 President Theodore Roosevelt changed
the name to the Gila Forest Reserve by Proclamation in 1905. The
Datil National Forest was established by presidential proclamation
in 1908 by transferring land from the Gila National Forest, In

1925, the Datil National Forest was transferred to and merged with

 

7 The Creative Act of 1891 was repealed by Section 704(a) of
the Federal Land Policy and Management Act of 1976. P.L. 94-579.

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the Apache National Forest by proclamation of President Calvin
Coolidge.

The Forest Service originally established the Diamond Bar
Allotment in 1908 as an administrative unit of the Gila National
Forest. Eighty-five percent of the 145,580 acre Diamond Bar
Allotment is within the Aldo Leopold. Wilderness and. the Gila
Wilderness. In 1980, Congress designated the portions of the Aldo
Leopold Wilderness and Gila Wilderness presently within the Diamond
Bar Allotment as wilderness, 94 Stat. 3221. The Forest Service
established the Laney Allotment in 1933 as an administrative unit
of the Apache National Forest. There is no designated wilderness
within the 27,926 acre Laney Allotment.

On June 20, 1910, the United States Congress enacted the New
Mexico Enabling Act, 36 Stat. 557, 558 (1910), authorizing the
residents of the New Mexico Territory to elect representatives to
a constitutional convention for the purpose of admitting New Mexico
to the Union. Amonq its provisions, the Act granted certain tracts
of United States public lands to New Mexico when it entered the
Union. The Act required the convention to adopt an ordinance,
"irrevocable without the consent of the United States and the
people of [New Mexico]," agreeing and declaring that the
inhabitants of the Territory of New Mexico "forever disclaim all
right and title to the unappropriated and ungranted public lands
lying within the boundaries thereof."

New jMexico’s Constitutional convention accepted Congress'

invitation to become a State and passed the Constitution of the

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State of New Mexico which states in relevant part, "[t]hat the
people inhabiting this state do agree and declare that they forever
disclaim all right and title to the unappropriated public lands
lying within the boundaries thereof." New Mexico Const. Art. XXI,
§ 2. Upon receipt of the State Constitution ratified by the
inhabitants of the New Mexico Territory and the Ordinance
disclaiming all unappropriated public lands in the Territory, New
Mexico was admitted to the Union on an equal footing with the
original States by presidential proclamation in 1912. 37 Stat.
1723.

B. Management of Grazing Activities on National Forest system

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The Forest Service administers the National Forest System
under various statutes. The Organic Administration Act of 1897, 30
Stat. 34, 16 U.S.C. § 473 et se ., provides that lands may be
reserved as National Forests. Pursuant to the Organic
Administration Act, the Secretary of Agriculture may issue rules
and regulations concerning the National Forests.8 In 1906, the
Secretary of Agriculture issued regulations requiring persons
desiring to graze stock in the National Forests to secure a permit
from the Forest Service. United States v. Grimaud, 220 U.S. 506,

509 (1911).

 

8 The Secretary of the Interior initially administered the
National Forests. The Transfer Act of 1905 transferred the
administration of the National Forests to the Secretary of
Agriculture in 1905. Transfer Act of 1905, 33 Stat. 628, 16 U.S.C.
§ 472.

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The Granger-Thye Act of 1950, 64 Stat. 88, provides
independent authority for the Forest Service to issue permits for
grazing on National Forest lands. Section 19 of that statute, 16
U.S.C. § 5801, states:

The Secretary of Agriculture in regulating grazing on the

national forests and other lands administered by him in

connection therewith is authorized, upon such terms and
conditions as he may deem proper, to issue permits for

the grazing of livestock for periods not exceeding ten

years and renewals thereof: Provided, That nothing

herein shall be construed as limiting or restricting any
right, title or interest of the United States in any land

or resources.

In 1976, Congress enacted the National Forest Management Act
(NFMA), 16 U.S.C. § 1600 et. se ., which requires the preparation
of land and resource management plans for each unit of the National
Forest System. Plans developed in accordance with the NFMA must
"form one integrated plan for each unit of the National Forest
System." 16 U.S.C. § 1604(f)(1). Among other things, NFMA requires
that "permits . . . for the use and occupation of National Forest
System lands shall be consistent with the land management plans."
16 U.s.c. § 1604(1).

Additionally, Section 402(a) of Federal Land Policy Management
Act of 1970 (FLPMA), 43 U.S.C. § 1752(a), provides that, subject to
certain exceptions, livestock grazing permits issued for National
Forests in the sixteen contiguous Western states, which includes
New Mexico, shall be for a term of ten years. Section 402(a)
further provides that such grazing permits shall be:

subject to such terms and conditions the Secretary

concerned deems appropriate and consistent with the

governing law, including, but not limited to, the

authority of the Secretary concerned to cancel, suspend,

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or modify a grazing permit or lease, in whole or in part,

pursuant to the terms and conditions thereof, or to

cancel or suspend a grazing permit or lease for any
violation of a grazing regulation or of any term or
condition of such grazing permit or lease.

The Department of Agriculture’s regulations concerning grazing
on National Forest System lands are published at 36 C.F.R. Part
222. The regulations caution that grazing permits "convey no
right, title, or interest held by the United States in any lands or
resources." 36 C.F.R. § 222.3(b). The regulations also state that
the terms and conditions of a grazing permit can be modified "to
conform to current situations brought about by changes in law,
regulation, executive order, development or revision of an
allotment management plan, or other management needs." 36 C.F.R.
§ 222.4(a)(7). In addition, the regulations provide that the
Forest Service may cancel or suspend, in whole or in part, any
grazing permit "if the permittee does not comply with provisions
and requirements in the grazing permit or the regulations of the
Secretary of Agriculture on which the permit is based." 36 C.F.R.
§ 222.4(a)(4).

The terms and conditions in a Forest Service grazing permit
include, but are not limited to, the number of livestock to be
grazed, the allotment(s) where the grazing activity may occur, and
the permitted grazing season. In order to receive a new term
grazing permit upon the expiration of the previous term grazing
permit, a permittee must submit an "Application for a Term Grazing

Permit" to the Forest Service. An expiring term grazing permit

holder has first priority for receipt for a new permit provided

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that the permittee had been in compliance with the terms and
conditions of the expiring permit.

Grazing' without Forest Service authorization on National
Forest lands is subject to assessment of an "unauthorized grazing
use" rate. 36 C.F.R. § 222.50(h). Forest Service policy specifies
that the rate for unauthorized use is based on the full commercial
value of leased forage, unadjusted for differential operating costs
for grazing National Forest System lands and leased private

rangelands. Id.; see also, Declaration of Russell Ward at 1 35.

C. Analysis

"It is well-settled that historical grazing' practices on
public land was a privilege and conferred no legal right on the
user." United States v. Gardner, 903 F.Supp. 1394, 1402 (D.Nev.
1995)(citing Buford v. Houtz; 133 U.S. 320 (1890)); gee gl§g,
Osborne v. United States, 145 F.2d 892, 894 (9th Cir. 1944)(United
States' tacit consent to use of public lands by stockmen for
grazing did not confer any vested rights on them). Further, in
Gardner v. Stager, 892 F.Supp. 1301, 1303 (D.Nev. 1995), the Court
expressly rejected the plaintiffs' argument that their predecessors
acquired vested water rights on national forest lands and that
grazing right are "appurtenant" to such water rights. Therefore,
Plaintiffs’ contention that they hold "valid existing property
rights to the water and range for the purpose of raising livestock"

on forest lands because their predecessors grazed stock on the land

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at issue in. the 1880's is without. merit.9 Moreover, whether
Plaintiffs own certain water rights"% in accordance with New
Mexico law (the law of prior appropriation), does not change the
fact that such rights do not deprive the Forest Service of its
statutory authority and responsibility to regulate the use and
occupancy of National Forest System lands for livestock grazing

through the issuance of grazing permits.

(1) Trespass

Trespass is defined as an entry upon the real estate of
another without the permission or invitation of the person lawfully
entitled to possession. Restatement (Second) of Torts §§ 158-159
(1965). One who, without right, enters public lands of the United
States is a trespasser. United States v. Osterlund, 505 F. Supp.
165, 167 (D.colo. 1981), Q'_¢L 671 F.2d 1267 (10th cir. 1982).
With respect to its own land, the government has the right of an
ordinary proprietor, to maintain its possession and to prosecute
trespassers. Camfield v. United States, 167 U.S. 518, 524 (1897).
It may deal with such lands precisely as a private individual may
deal with his property. lgL

It is clear that the United States owns the Gila National

Forest and the Apache National Forest. It also is clear that the

 

9 Plaintiffs make other arguments to support their position,
however, these arguments merit no discussion. See Ex. DB-4.

1° The Court does not need to address the issue of whether
Plaintiffs appropriated the water in accordance with New Mexico law
in order to grant the United States' motion for summary judgment
because it is not a material fact requiring resolution.

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Forest Service, pursuant to statutory authority, administers these
lands for livestock grazing. Moreover, such grazing use requires
that an individual secure written authorization in the form of a
grazing permit before placing livestock on National Forest lands.
Plaintiffs do not dispute that their cattle are grazing on National
Forest lands without written authorization from the Forest Service.
Based on the foregoing, the Court finds that Plaintiffs are
trespassing on federal land. Accordingly, the United States Motion
for Summary Judgment will be granted. Plaintiffs’ Complaint will
be dismissed with prejudice. Plaintiffs will be enjoined from
grazing their livestock on the Gila National Forest and the Apache
National Forest, until such time as the United States through the
Forest Service, under its laws and regulations, shall authorize
such grazing. Defendants shall have judgment against Plaintiffs.
Defendants have twenty (20) days to submit an affidavit to the
Court outlining the amount of damages and the fees claimed by
Defendants pursuant to 36 C.F.R. § 222.50(h) for 'unauthorized
grazing use. Plaintiffs shall have 20 days thereafter to
contradict by affidavit the amount claimed by Defendants, and, if
necessary, the matter will be set for hearing. The Motion to
Intervene will be dismissed as moot.

A Judgment in accordance with this Memorandum Opinion shall be

entered when the damages issue is resolved.

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/ H'owARD c. BRATTON
District Judge

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